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OCT 24 2024
THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF TEXAS CLERK, U.S. DISTRICTICOURT

DALLAS DIVISION By
Deputy
JEFF M EDWARDS, individually, CASE NO. 3:24-CV-02543-E
Plaintiff
Vs. MDL CASE NO. 3:24-MD-03114
Rises LNG: PLAINTIFF’S AMENDED COMPLAINT
Defendant

Plaintiff Jeff M Edwards (“Plaintiff”) brings this “Amended Complaint” against the
Defendant, AT&T, Inc. (“Defendant” or “AT&T”) and hereby alleges, upon personal
knowledge as to his own action and investigation, and upon information and belief as to
all other matters, asserts the following claims before the Court.

Plaintiff's “Original Complaint”, pursuant to Texas Government Code 27.031(a)(1),
limited Plaintiff's damages. Conversely, Defendant’s actions were in direct violation of
Texas Business and Commerce Code - Sec. 521.052, namely, “BUSINESS DUTY TO
PROTECT SENSITIVE PERSONAL INFORMATION”,

(a) A business shall implement and maintain reasonable procedures, including

taking any appropriate corrective action, to protect from unlawful use or disclosure

any sensitive personal information collected or maintained by the business in the
regular course of business.

By Defendant’s admission (Exhibit A) in its “Notice of Data Breach”, Defendant

states; “What information was involved? The information varied by individual and

account, but may have included full name, email address, mailing address, phone number,

social security number, date of birth, AT&T account number and AT&T passcode.”

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F-Secure, a global cybersecurity company that offers products and services to
protect consumers from online threats, confirmed (Exhibit B) that Plaintiffs social
security number, along with other personal information (PI) was not only exposed but
stolen with Defendant’s own AT&T Data Breach.

Pursuant to Rule 15(a) of the Federal Rules of Civil Procedure, Plaintiff, “as a

matter of justice”, submits to the Court “Plaintiff's Amended Complaint”.

PARTIES

1. Plaintiff Jeff M Edwards is a Texas citizen who lives in Cedar Park, Texas.
Plaintiff’s principal address at all times pertaining to this action is 1406 Duster Cove,
Cedar Park, Texas, 78613. Plaintiff is a former customer of AT&T Inc. having received
internet as well as other telecommunications services from Defendant.

2. AT&T Inc. (with "AT&T" being an abbreviation for its former name, the American
Telephone and Telegraph Company) is a multinational telecommunications company. It is
the world's fourth-largest telecommunications company by revenue and the largest wireless
carrier in the United States. As of 2023, AT&T was ranked 13th on the Fortune 500
rankings of the largest United States corporations, with revenues exceeding $100 billion.

AT&T provides, among other things, wireless network services, cellular data plans,
cell phone plans, and Internet connection plans.

3. Defendant AT&T, Inc. (Defendant) is headquartered at 208 South Akard Street,
Dallas, Texas 75202, and may be served through their registered agent CT Corporation

System, 1999 Bryan Street., Ste. 900, Dallas, Texas 75201.

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JURISDICTION AND VENUE

4. On June 18, 2024, Plaintiff filed an “Original Complaint” against the Defendant
in Williamson County, Texas Justice Court. Subsequently, the Defendant filed a “Notice
of Removal” to the United States District Court for The Western District of Texas.
Thereafter, Plaintiff filed an objection.

5. On October 4, 2024, the United States District Panel on Multi-District Litigation
granted a transfer order (Exhibit C) under case number 3:24-cv-02543-E moving this
action to the United States District Court for The Northern District of Texas as part of
MDL case number 3:24-md-03114.

6. The Panel found: After considering the argument of counsel, we find that the actions
involve common questions of fact with the actions transferred to MDL No. 3114, and
that transfer under 28 U.S.C. § 1407 will serve the convenience of the parties and
witnesses and promote the just and efficient conduct of the litigation. In our order
establishing this MDL, we held that centralization was warranted for actions
concerning “an alleged data security breach announced by AT&T in March 2024
concerning the personal information of over 70 million former and current AT&T
customers released on the dark web.”2 See In re AT&T Inc. Customer Data Sec.
Breach Litig.,__ F. Supp. 3d__, 2024 WL 2884429 (J.P.M.L. June 5, 2024). The
actions concern the AT&T data breach announced in March 2024 and share common
factual questions with the actions in the MDL.

7. This action is brought pursuant to Texas Business and Commerce Code - BUS &

COM Sec. 17.565 and Sec. 521.052.

8. The United States District Panel on Multi-District Litigation, by its transfer order

of October 4, 2024 (Exhibit C), has deemed the United States District Court for The
Northern District of Texas as part of MDL case number 3:24-md-03114 as the proper

court having jurisdiction and the proper venue for this action.

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DEFENDANT’S NOTICE TO PLAINTIFF

9. On April 25, 2024, Defendant AT&T sent a formal notice of a “Data Breach” to
Plaintiff Jeff M Edwards with the subject heading “Notice of Data Breach” (Exhibit A).
10. With the above notification, Defendant AT&T has acknowledged the Data Breach

and has admitted this serious error.

CASE BACKGROUND

11. This action arises out of a recent targeted cyberattack and data breach (“Data
Breach”) in which Defendant AT&T, lost control over more than 73 million customers’
personal data and other sensitive information. Those customers, including Plaintiff,
suffered ascertainable losses from this Data Breach including the loss of the benefit of their
bargain, out-of-pocket expenses and the value of their time reasonably incurred to remedy
or mitigate the effects of the attack, now and into the future.

12. Plaintiff Jeff M Edwards’ personal data and other sensitive information, including
Plaintiff's social security number, which was entrusted to Defendant for safe keeping—was
compromised and unlawfully accessed due to the Data Breach.

13. The Data Breach included personally identifiable information (“PII”) that
Defendant collected and maintained. Information compromised in the Data Breach
includes, names, addresses, phone numbers, dates of birth, Social Security Numbers, and
email addresses (“Private Information”).

14. Plaintiff brings this lawsuit to address Defendant’s inadequate safeguarding of
Plaintiff's Private Information that it collected, and for failing to provide timely and
adequate notice to Plaintiff that his information had been subject to the unauthorized

access of unknown third parties and precisely what specific type of information was
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accessed.

15. Defendant collected and stored Plaintiff's Private Information in a reckless manner.

16. In particular, Private Information was collected by Defendant, inadequately
secured, and shared with a vendor who had insufficient cybersecurity protections in place
to protect Plaintiff’s Private Information.

17. Upon information and belief, the mechanism of the cyberattack and potential for
improper disclosure of Plaintiff’s Private Information was a known risk to Defendant, and
thus Defendant was on notice that failing to take steps necessary to secure the Private
Information from those risks left that property in a dangerous condition.

18. Plaintiff’s identity is now at increased risk of identity theft because of Defendant’s
negligent conduct since the Private Information that Defendant collected and promised to
protect is now in the hands of data thieves.

19. The seriousness and gravity of Defendant’s Data Breach, especially the fact that
Plaintiff's Social Security number was exposed to thieves and, therefore, stolen, the
Social Security Administration (Exhibit D) states;

“Identity theft is one of the fastest growing crimes in America. A dishonest person
who has your Social Security number can use it to get other personal information about
you. Identity thieves can use your number and your good credit to apply for more credit in
your name. Then, when they use the credit cards and don’t pay the bills, it damages your
credit. You may not find out that someone is using your number until you’re turned down
for credit, or you begin to get calls from unknown creditors demanding payment for items
you never bought. Someone illegally using your Social Security number and assuming your
identity can cause a lot of problems.”

20. Armed with the Private Information accessed in the Data Breach, data thieves can
now commit a variety of crimes including, e.g., opening new financial accounts in Plaintiff 5

name, taking out loans in his name, using Plaintiff’s information to obtain government

benefits, filing fraudulent tax returns using Plaintiff’s information, obtaining driver’s
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licenses in Plaintiff’s name, but with another person’s photograph, and giving false
information to police during an arrest.

21. As a result of the Data Breach, Plaintiff has been exposed to a heightened and
imminent risk of fraud and identity theft. Plaintiff must now and in the future closely
monitor his financial accounts to guard against identity theft.

22. Plaintiff is also very likely to incur out of pocket costs for, e.g., purchasing credit
monitoring services, credit freezes, credit reports, or other protective measures to deter
and detect identity theft.

23. Plaintiff seeks to remedy these harms as a result of the Data Breach caused by
AT&T.

24. Plaintiff seeks remedies including, but not limited to, compensatory and exemplary
damages, reimbursement of out-of-pocket costs, and injunctive relief including
improvements to Defendant’s data security protocols, future annual audits, and adequate

credit monitoring services funded by Defendant.

NATURE OF DEFENDANT’S BUSINESS

25. Defendant AT&T is a company that provides telecommunications services across
the United States.

26. In the ordinary course of providing telecommunications services, customers must
provide to AT&T access to certain Private Information. AT&T specifies the following types
of personal data collected in its “Privacy Notice: The information we collect”.

To better run our business, we collect information about you, your equipment and
how you use our products and services. This can include:

a. Account information. You give us information about yourself, such as contact and
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billing information. We also keep service-related history and details, including
Customer Proprietary Network Information.

b. Equipment information. We collect information about equipment on our network

c. like the type of device you use, device ID, and phone number.

d. Network performance. We monitor and test the health and performance of our
network. This includes your use of Products and Services to show how our network
and your device are working.

e. Location information. Location data is automatically generated when devices,
products and services interact with cell towers and Wi-Fi routers. Location can also
be generated by Bluetooth services, network devices and other tech, including GPS
satellites.

f. Web browsing and app information. We automatically collect a variety of
information which may include time spent on websites or apps, website and IP
addresses and advertising IDs. It also can include links and ads seen, videos
watched, search terms entered and items placed in online AT&T shopping carts. We
may use pixels, cookies and similar tools to collect this information. We don’t
decrypt information from secure websites or apps — such as passwords or banking
information.

g. Biometric information. Fingerprints, voice prints and face scans are examples of
biological characteristics that may be used to identify individuals. Learn more in
our Biometric Information Privacy Notice.

h. Third-party information. We get information from outside sources like credit
reports, marketing mailing lists and commercially available demographic and

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geographic data. Social media posts also may be collected, if you reach out to us
directly or mention AT&T.

All these types of information are considered Personal Information when they can
reasonably be linked to you as an identifiable person or household. For instance,
information is personal when it can be linked to your name, account number or
device.

27. Within AT&T’s Privacy Notice, AT&T states the following about keeping Private
Information private and secure:

“Thank you for reading our Privacy Notice. Your privacy is important to you and to us.
This notice applies to AT&T products and services including internet, wireless, voice
and AT&T apps. Your privacy choices and controls You can manage how we use and
share your information for certain activities including advertising and marketing. Here
are key examples: Do not sell or share my personal information. We may share
information with other companies in limited ways, such as exchanging subscriber lists
for joint marketing. Data retention and security. We work hard to safeguard your
information using technology controls and organizational controls. We protect our
computer storage and network equipment. We require employees to authenticate
themselves to access sensitive data. We limit access to personal information to the
people who need access for their jobs. And we require callers and online users to
authenticate themselves before we provide account information. No security measures
are perfect. We can’t guarantee that your information will never be disclosed in a
manner inconsistent with this notice. If a breach occurs, we’ll notify you as required by
law”.

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28. Thus, because of the highly sensitive and personal nature of the information it
acquires, AT&T promises in its Privacy Notice to, among other things, maintain the
privacy and security of Private Information.

29. As a condition of receiving telecommunications services, Defendant requires that its
customers entrust it with highly sensitive personal information.

30. By obtaining, collecting, using, and deriving a benefit from Plaintiff’ Private
Information, Defendant assumed legal and equitable duties and knew or should have
known that it was responsible for protecting Plaintiff Private Information from disclosure.

31. Plaintiff have taken reasonable steps to maintain the confidentiality of their Private
Information.

32. Plaintiff and the Class Members relied on Defendant to keep their Private
Information confidential and securely maintained, to use this information for business

purposes only, and to make only authorized disclosures of this information.

THE “DATA BREACH”

A. 2021 Stealing of Database (“2021 Data Incident”)

33. On or about August 19, 2021, a criminal hacking group called “ShinyHunters”
began selling on a hacking forum a database which, according to ShinyHunters, contains
Personal Customer Data of over 70 million AT&T customers.

34, While attempting to sell the database, ShinyHunters only revealed sample data from
the compromised database, which included customers’ names, addresses, phone numbers,
Social Security numbers, and dates of birth.

35. AT&T maintained, without providing any evidence, that the data samples leaked

from the compromised database did not come from AT&T’s systems, that AT&T had
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| ||not been breached.

2 36. AT&T also did not confirm whether the leaked data came from a breach of a third-
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party partner’s information technology systems which may have held Private Information.
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37. ShinyHunters challenged AT&T’s denials of the Data Breach coming from AT&T

6 || or one of its third-party partners, stating “I don’t care if they don’t admit. I’m just

7 || selling.”

8 38. ShinyHunters also stated that the criminal group was willing to “negotiate” with

9

AT&T.

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a 39. Shortly after the 2021 Data Incident, a security researcher reported that two of the
12 || four individuals in the data samples leaked by ShinyHunters were confirmed to have

13 |}accounts on att.com.

4 40. AT&T did not notify any of its customers, including Plaintiff, of the 2021 Data

: Incident. Defendant’s actions, therefore, are serious and in direct violation of Texas

* Business and Commerce Code - Sec. 521.052

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B. 2024 Leak of Private Information (“2024 Data Incident”)

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i 41. On or about March 17, 2024, another cybercrime actor known as “MajorNelson”
21 || posted on an Internet forum the entire dataset of the stolen database from the 2021 Data
22 || Incident, the database of which ShinyHunters attempted to sell.
= 42. The data leaked by MajorNelson included the following data types from
“ approximately 73 million individuals, inter alia: names, addresses, phone numbers, dates of
25
os birth, and Social Security numbers.
27 43. On March 19, 2024, Troy Hunt—a security researcher and the creator of the data
28 || breach notification website “Have I Been Pawned”—posted on his blog about the AT&T

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Data Breach.

44, In the blog post, Mr. Hunt concluded that the leaked data from the Data Breach was
authentic after he spoke with several “Have I Been Pawned” subscribers who were AT&T
customers and who confirmed the accuracy of the leaked data.

45. Moreover, Mr. Hunt noted that the Internet forum on which the leaked data was
posted is not on the ‘dark web,’ but rather on the traditional Web “easily accessed by a
normal web browser.”

46. The 2021 Data Incident combined with the 2024 Data Incident (together, the “Data

Breach”) caused significant harm to Plaintiff.

C. AT&T Failed to Safeguard Plaintiff's Private Information

47. Defendant had obligations created by contract, industry standards, common law,
and representations made to Plaintiff to keep his Private Information confidential and to
protect it from unauthorized access and disclosure.

48. Plaintiff provided his Private Information to AT&T with the reasonable expectation
and mutual understanding that Private Information would comply with Defendant’s
obligation to keep such information confidential and secure from unauthorized access.

49. Defendant’s data security obligations were particularly important given the
substantial increase in cyberattacks and/or data breaches preceding the date of the breach.

50. In light of recent high profile data breaches at other companies, Defendant knew or
should have known that electronic records would be targeted by cybercriminals.

51. Indeed, cyberattacks have become so notorious that the Federal Bureau of
Investigation and U.S. Secret Service have issued a warning to potential targets, so they are

aware of, and prepared for, a potential attack. As one report explained, “[e]ntities like
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smaller municipalities and hospitals are attractive to ransomware criminals... because
they often have lesser IT defenses and a high incentive to regain access to their data
quickly.”

52. Therefore, the increase in such attacks, and attendant risk of future attacks, was
widely known to the public and to anyone in Defendant’s industry, including Defendant.

53. AT&T failed to implement adequate data security measures to safeguard Plaintiff's
Private Information as evidenced by the database stolen by ShinyHunters in 2021 and by
the full leak of about 73 million individuals’ Private Information by MajorNelson in 2024,
nearly three years after the 2021 Data Incident.

54. Despite the First Data Incident having occurred in August 2021 (and again on
March 2024), AT&T has made no effort to notify the public about the severity of the Data
Breach nor has AT&T given to potential victims of the Data Breach instructions on how to
keep their Private Information safe.

55. Even though the Private Information at issue has been compromised and leaked for
about two and a half years, AT&T has done nothing to get the leaked Private Information
taken down from places where the Private Information should not be, such as in the
aforementioned internet forum, which are on the Clear Web.

56. Further, AT&T has not done anything to determine the source of the Data Breach.
This is evidenced by AT&T’s reluctance to confirm whether the Data Breach may be
attributed to a third-party partner to whom AT&T entrusted the processing and
safekeeping of a substantial amount of Plaintiff’ Private Information.

57. Considering that the Data Breach likely occurred as a result of malicious actors—
such as ShinyHunter and MajorNelson—exploiting a data security weakness in one of

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AT&T’s third-party processors of Private Information, AT&T failed to adequately verify
the adequacy of security measures, if any, that such third-party processors had in place

meant to protect the Private Information.

D. Defendant Failed to Comply with FTC Guidelines

54. The Federal Trade Commission (“FTC”) has promulgated numerous guides for
businesses which highlight the importance of implementing reasonable data security
practices. According to the FTC, the need for data security should be factored into all
business decision making.

55. In 2016, the FTC updated its publication, Protecting Personal Information: A Guide
for Business, which established cyber-security guidelines for businesses. The guidelines note
that businesses should protect the personal customer information that they keep; properly
dispose of personal information that is no longer needed; encrypt information stored on
computer networks; understand their network’s vulnerabilities; and implement policies to
correct any security problems. The guidelines also recommend that businesses use an
intrusion detection system to expose a breach as soon as it occurs; monitor all incoming traffic
for activity indicating someone is attempting to hack the system; watch for large amounts of
data being transmitted from the system; and have a response plan ready in the event of a
breach.

56. The FTC further recommends that companies not maintain PII longer than is
needed for authorization of a transaction; limit access to sensitive data; require complex
passwords to be used on networks; use industry-tested methods for security; monitor for
suspicious activity on the network; and verify that third-party service providers have

implemented reasonable security measures.
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57. The FTC has brought enforcement actions against businesses for failing to protect
customer data adequately and reasonably, treating the failure to employ reasonable and
appropriate measures to protect against unauthorized access to confidential consumer data
as an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act
(“FTCA”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the measures
businesses must take to meet their data security obligations.

58. Defendant failed to properly implement basic data security practices. Defendant’s
failure to employ reasonable and appropriate measures to protect against unauthorized
access to Private Information is an unfair act or practice prohibited by Section 5 of the
FTC Act, 15 U.S.C. § 45.

59. Defendant was at all times fully aware of its obligation to protect the Private
Information of its customers. Defendant was also aware of the significant repercussions

that would result from its failure to do so.

E. Defendant Failed to Comply with Industry Standards
60. As shown above, experts studying cyber security routinely identify companies as being
particularly vulnerable to cyberattacks because of the value of the PII which they collect
and maintain.

61. Several best practices have been identified that a minimum should be implemented
by companies like Defendant, including but not limited to ensuring Private Information is
only shared with third parties when reasonably necessary and that those vendors have
appropriate cybersecurity systems and protocols in place.

62. A number of industry and national best practices have been published and should

be used as a go-to resource when developing an institution’s cybersecurity standards. The
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Center for Internet Security (“CIS”) released its Critical Security Controls (“CSC”), and
all businesses are strongly advised to follow these actions. The CIS Benchmarks are the
overwhelming option of choice for auditors worldwide when advising organizations on the
adoption of a secure build standard for any governance and security initiative, including
PCI DSS, NIST 800-53, SOX, FISMA, ISO/IEC 27002, Graham Leach Bliley and ITIL.18
63. Other best cybersecurity practices that are standard in the telecommunications
industry include installing appropriate malware detection software; monitoring and
limiting the network ports; protecting web browsers and email management systems;
setting up network systems such as firewalls, switches and routers; monitoring and
protection of physical security systems; protection against any possible communication

system; and training staff regarding critical points.

F. Cyberattacks and Data Breaches Put Individuals at an Increased
Risk of Fraud and Identity Theft
64. Cyberattacks and data breaches on businesses are problematic because of the
increased risk of fraud and identity theft. The United States Government Accountability
Office released a report in 2007 regarding data breaches (“GAO Report”) in which it noted
that victims of identity theft will face “substantial costs and time to repair the damage to their
good name and credit record.” That is because any victim of a data breach is exposed to
serious ramifications regardless of the nature of the data. Indeed, the reason criminals steal
personally identifiable information is to monetize it. They do this by selling the spoils of
their cyberattacks on the black market to identity thieves who desire to extort and harass
victims and take over victims’ identities in order to engage in illegal financial transactions

under the victims’ names. Because a person’s identity is akin to a puzzle, the more accurate
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pieces of data an identity thief obtains about a person, the easier it is for the thief to take on
the victim’s identity, or otherwise harass or track the victim.

65. The FTC recommends that identity theft victims take several steps to protect their
personal and financial information after a data breach, including contacting one of the
credit bureaus to place a fraud alert (consider an extended fraud alert that lasts for 7 years
if someone steals their identity), reviewing their credit reports, contacting companies to
remove fraudulent charges from their accounts, placing a credit freeze on their credit, and
correcting their credit reports.

66. Identity thieves use stolen personal information such as Social Security numbers for
a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance
fraud.

67. Identity thieves can use Social Security numbers to obtain a driver’s license or
official identification card in the victim’s name but with the thief’s picture; use the victim’s
name and Social Security number to obtain government benefits; or file a fraudulent tax
return using the victim’s information. Also, identity thieves may obtain a job using the
victim’s Social Security number, rent a house in the victim’s name, and may even give the
victim’s personal information to police during an arrest resulting in an arrest warrant
being issued in the victim’s name.

68. Moreover, theft of Private Information is also gravely serious. PII is a valuable
property right. Its value is axiomatic, considering the value of “big data” in corporate
America and the fact that the consequences of cyber thefts include heavy prison sentences.
Even this obvious risk to reward analysis illustrates beyond doubt that Private Information
has considerable market value.

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69. It must also be noted there may be a substantial time lag — measured in years —
between when harm occurs and when it is discovered, and also between when Private
Information is stolen and when it is used.

70. According to the U.S. Government Accountability Office, which conducted a study
regarding data breaches: [L]aw enforcement officials told us that in some cases, stolen data
may be held for up to a year or more before being used to commit identity theft. Further,
once stolen data have been sold or posted on the Web, fraudulent use of that information
may continue for years. As a result, studies that attempt to measure the harm resulting
from data breaches cannot necessarily rule out all future harm. See GAO Report, at p. 29.

71. Private Information is such a valuable commodity to identity thieves that once the
information has been compromised criminals often trade the information on the “cyber
black market” for years.

72. There is a strong probability that entire batches of stolen information have been
dumped on the black market and are yet to be dumped on the black market, meaning
Plaintiff is at an increased risk of fraud and identity theft for many years into the future.

73. Thus, Plaintiff must vigilantly monitor his financial accounts and other types of
accounts for many years to come.

74. Sensitive Private Information can sell for as much as $363 per record according to
the Infosec Institute. PII is particularly valuable because criminals can use it to target
victims with frauds and scams. Once PII is stolen, fraudulent use of that information and
damage to victims may continue for years.

75. For example, the Social Security Administration (Exhibit D) has warned that
identity thieves can use an individual’s Social Security number to apply for additional

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credit lines. Such fraud may go undetected until debt collection calls commence months, or
even years, later. Stolen Social Security Numbers also make it possible for thieves to file
fraudulent tax returns, file for unemployment benefits, or apply for a job using a false
identity. Each of these fraudulent activities is difficult to detect. An individual may not
know that his or her Social Security Number was used to file for unemployment benefits
until law enforcement notifies the individual’s employer of the suspected fraud. Fraudulent
tax returns are typically discovered only when an individual’s authentic tax return is
rejected.

76. Moreover, it is not an easy task to change or cancel a stolen Social Security number.
An individual cannot obtain a new Social Security number without significant paperwork
and evidence of actual misuse. Even then, a new Social Security number may not be
effective, as “[t]he credit bureaus and banks are able to link the new number very quickly
to the old number, so all of that old bad information is quickly inherited into the new Social
Security number.”

77, This data, as one would expect, demands a much higher price on the black market.
Martin Walter, senior director at cybersecurity firm RedSeal, explained, “{c/ompared to
credit card information, personally identifiable information and Social Security Numbers are
worth more than 10x on the black market.”

78. Because of the value of its collected and stored data, the telecommunications
industry has experienced disproportionally higher numbers of data theft events than other
industries.

79. For this reason, Defendant knew or should have known about these dangers and
strengthened its data protocols accordingly. Defendant was put on notice of the substantial

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and foreseeable risk of harm from a data breach, yet it failed to properly prepare for that

risk.

CLAIMS FOR RELIEF

COUNT I: NEGLIGENCE

80. Plaintiff repeats and re-alleges each and every factual allegation contained in
each and every previous paragraph as if fully set forth herein respecting this, “Plaintiff's
Amended Complaint”.

81. In order to receive telecommunications services, Defendant required Plaintiff to
submit non-public Private Information, such as PII.

82. Plaintiff entrusted his Private Information to Defendant with the understanding
that Defendant would safeguard his personal information as required by Texas law.

83. By collecting and storing this data in its computer property, and sharing it and
using it for commercial gain, Defendant had a duty of care to use reasonable means to
secure and safeguard its computer property to prevent disclosure of the information, and
to safeguard Plaintiff's personal information (PII) from theft.

84. Defendant’s duty included a responsibility to fully vet vendors with whom it
shared Private Information and ensure that those vendors had adequate data security
protocols and procedures in place.

85. Defendant owed a nondelegable duty of care to Plaintiff to provide proper and
adequate data security consistent with industry standards and other requirements
discussed herein, and to ensure that its systems and networks, and the personnel

responsible for them, adequately protected the Private Information.

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86. Defendant’s duty of care to use reasonable security measures arose as a result of
the special relationship that existed between Defendant and its customers, which is
recognized by laws and regulations, as well as common law. Defendant was in a position to
ensure that its systems were sufficient to protect against the foreseeable risk of harm to
Plaintiff from a data breach.

87. Defendant had a duty to employ reasonable security measures under Section 5 of
the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair ... practices in
or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair
practice of failing to use reasonable measures to protect confidential data.

88. Defendant’s duty to use reasonable care in protecting confidential data arose not
only as a result of the law described above, but also because Defendant is bound by
industry standards to protect confidential Private Information.

89. Defendant breached its duties, and thus was negligent, by failing to use reasonable
measures in its own systems to protect Plaintiff’s Private Information and by failing to
properly verify that its third-party processors implemented data security measures
adequate to safeguard Plaintiff’s Private Information.

90. It was foreseeable that Defendant’s failure to use reasonable measures to protect
Plaintiff's Private Information would result in injury to Class Members. Further, the
breach of security was reasonably foreseeable given the known high frequency of
cyberattacks and data breaches in the telecommunications industry.

91. It was therefore foreseeable that the failure to adequately safeguard Plaintiff's

Private Information would result in one or more types of injuries to Plaintiff.

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92. Plaintiff is, therefore, entitled to compensatory, consequential and exemplary
damages suffered as a result of the “Data Breach”.

93. Plaintiff is also entitled to injunctive relief requiring Defendant to (i) strengthen
its data security protocols and procedures; (ii) submit to future annual audits of those
systems and monitoring procedures; and (iii) continue to provide adequate credit and

identity monitoring to Plaintiff.

COUNT I: BREACH OF IMPLIED CONTRACT

94. Plaintiff repeats and re-alleges each and every factual allegation contained in
each of the previous paragraphs as if fully set forth herein.

95. Through its course of conduct, Defendant, Plaintiff entered into implied contracts
for the provision of telecommunications services, as well as implied contracts for
Defendant to implement data security adequate to safeguard and protect the privacy of
Plaintiff's Private Information.

96. Specifically, Plaintiff entered into a valid and enforceable implied contract with
Defendant when Plaintiff signed up with AT&T for telecommunications services.

97. The valid and enforceable implied contracts to provide telecommunications
services that Plaintiff entered into with Defendant include the promise to protect non-
public Private Information given to Defendant or that Defendant creates on its own from
disclosure.

98. When Plaintiff provided his Private Information to Defendant in exchange for
telecommunications services, Plaintiff entered into implied contracts with Defendant

pursuant to which Defendant agreed to reasonably protect such information.

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99. Defendant solicited Plaintiff to provide his Private Information as part of
Defendant’s regular business practices. Plaintiff accepted Defendant’s offers and provided
his Private Information to Defendant.

100. In entering into such implied contracts, Plaintiff reasonably believed and
expected that Defendant’s data security practices complied with relevant laws and
regulations and were consistent with industry standards.

101. Plaintiff who paid money to Defendant reasonably believed and expected
that Defendant would use part of those funds to ensure adequate data security. Defendant
failed to do so.

102. Under the implied contracts, Defendant promised and was obligated to:

(a) provide telecommunications services to Plaintiff; and (b) protect Plaintiff’s and his
Private Information. In exchange, Plaintiff agreed to pay money for these services, and to
turn over his Private Information.

103. Both the provision of telecommunication services and the protection of
Plaintiff's Private Information were material aspects of these implied contracts.

104. The implied contracts for the provision of telecommunications services —
contracts that include the contractual obligations to maintain the privacy of Plaintiff's
Private Information—are also acknowledged, memorialized, and embodied in multiple
documents, including (among other documents) Defendant’s Privacy Notice.

105. Defendant’s express representations, including, but not limited to the express
representations found in its Privacy Notice, memorializes and embodies the implied
contractual obligation requiring Defendant to implement data security adequate to
safeguard and protect the privacy of Plaintiff’s Private Information.

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106. Customers of telecommunications services value their privacy, the privacy of
their dependents, and the ability to keep their PII associated with obtaining
telecommunications services private. To customers such as Plaintiff, telecommunications
services that do not adhere to industry standard data security protocols to protect Private
Information is fundamentally less useful and less valuable than the similar services that
adhere to industry standard data security. Plaintiff would not have entrusted his Private
Information to Defendant and entered into these implied contracts with Defendant without
an understanding that their Private Information would be safeguarded and protected or
entrusted his Private Information to Defendant in the absence of its implied promise to
adopt reasonable data security measures.

107. Plaintiff contractually agreed to provide his Private Information to
Defendant, and paid for the provided telecommunications services in exchange for,
amongst other things, both the provision of telecommunications services and the protection
of his Private Information.

108. Plaintiff performed his obligations under the contract when he paid for
AT&T’s telecommunications services and provided his Private Information.

109. Defendant materially breached its contractual obligation to protect the non-
public Private Information Defendant had gathered when the sensitive information was
accessed by unauthorized personnel as part of the cyberattacks and “Data Breach”.

110. Defendant materially breached the terms of the implied contracts, including,
but not limited to, the terms stated in the relevant Privacy Notice.

111. Defendant did not maintain the privacy of Plaintiffs Private Information as
evidenced by its repeated unauthorized disclosures of Private Information to at least two

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cybercriminal actors—ShinyHunters and MajorNelson. Specifically, Defendant did not
comply with industry standards of conduct embodied in statutes like Section 5 of the
FTCA, or otherwise protect Plaintiff’s Private Information, as set forth above.

112. The “Data Breach” was a reasonably foreseeable consequence of Defendant's
actions in breach of these contracts.

113. As a result of Defendant’s failure to fulfill the data security protections
promised in his contract, Plaintiff did not receive the full benefit of the bargain, and
instead received telecommunications services that were of a diminished value to that
described in the contracts. Plaintiff therefore was damaged in an amount at least equal to
the difference in the value of the telecommunications services with data security protection
he paid for and the telecommunications services he received.

114. Had Defendant disclosed that it did not adhere to industry-standard security
measures, neither the Plaintiff, nor any other reasonable person would have purchased
telecommunications services from Defendant.

115. As a direct and proximate result of the Data Breach, Plaintiff has been
harmed and has suffered, and will continue to suffer, actual damages and injuries,
including without limitation the release and disclosure of his Private Information, the loss
of control of his Private Information, the imminent risk of suffering additional damages in
the future, disruption of their telecommunications services, out-of-pocket expenses, and the
loss of the benefit of the bargain Plaintiff had struck with Defendant.

116. Plaintiff is entitled to compensatory, consequential and exemplary damages

suffered as a result of the “Data Breach”.

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117. Plaintiff is also entitled to injunctive relief requiring Defendant to, e.g., (i)
strengthen its data security systems and monitoring procedures; (ii) submit to future
annual audits of those systems and monitoring procedures; (iii) verify the adequacy of
security measures implemented by Defendant’s third-party processors of AT&T’s Private

Information; and (iv) provide adequate credit and identity monitoring to Plaintiff.

COUNT II: UNJUST ENRICHMENT

118. Plaintiff repeats and re-alleges each and every factual allegation contained in
each and every previous paragraph as if fully set forth herein.

119. Plaintiff conferred a monetary benefit on Defendant.

120. Specifically, Plaintiff purchased goods and services from Defendant and in so
doing provided Defendant with his Private Information. In exchange, Plaintiff should have
received from Defendant the goods and services that were the subject of the transaction
and have their Private Information protected with adequate data security.

121. Defendant knew that Plaintiff conferred a benefit which Defendant accepted.
Defendant profited from these transactions and used the Private Information of Plaintiff
for business purposes.

122. The amount Plaintiff paid for goods and services were used, in part, to pay
for the use of Defendant’s network and the administrative costs of data management and
security.

123. Under the principles of equity and good conscience, Defendant should not be
permitted to retain the money belonging to Plaintiff, because Defendant failed to
implement appropriate data management and security measures that are mandated by

industry standards.
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124, Defendant failed to secure Plaintiff’s Private Information and, therefore, did
not provide full compensation for the benefit Plaintiff provided.

125. Defendant acquired the Private Information through inequitable means in
that it failed to disclose the inadequate security practices previously alleged.

126. If Plaintiff knew that Defendant had not reasonably secured his Private
Information, Plaintiff would not have agreed to Defendant’s services.

127. Plaintiff has no adequate remedy at law.

128. As a direct and proximate result of Defendant’s conduct, Plaintiff has
suffered and will continue to suffer injury, including but not limited to: (a) actual identity
theft; (b) the loss of the opportunity of how their Private Information is used; (c) the
compromise, publication, and/or theft of their Private Information; (d) out-of-pocket
expenses associated with the prevention, detection, and recovery from identity theft, and/or
unauthorized use of his Private Information; (e) lost opportunity costs associated with
efforts expended and the loss of productivity addressing and attempting to mitigate the
actual and future consequences of the “Data Breach”, including but not limited to efforts
spent researching how to prevent, detect, contest, and recover from identity theft; (f) the
continued risk to his Private Information, which remains in Defendant’s possession and is
subject to further unauthorized disclosures so long as Defendant fails to undertake
appropriate and adequate measures to protect Private Information in their continued
possession; and (g) future costs in terms of time, effort, and money that will be expended to
prevent, detect, contest, and repair the impact of the Private Information compromised as
a result of the Data Breach for the remainder of the lives of Plaintiff.

129, As a direct and proximate result of Defendant’s conduct, Plaintiff has

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suffered and will continue to suffer other forms of injury and/or harm.

PLAINTIFF’S PRESENT AND FUTURE DAMAGES

130. To date, Defendant has done absolutely nothing to provide any relief for the

damage Plaintiff has suffered as a result of the “Data Breach”.

131. Plaintiff has been damaged by the compromise of his Private Information in
the “Data Breach”.
132. Plaintiff has continued to research the “Data Breach” and has learned that it

involved 73 million AT&T customers’ Private Information.

133. Plaintiff has since confirmed that his Private Information was indeed
impacted in the “Data Breach” (Exhibit A) and that his Private Information is readily
accessible via a search of the publicly available database containing AT&T customers’
Private Information.

134. Plaintiffs Private Information was compromised as a direct and proximate
result of the “Data Breach”.

135. As a direct and proximate result of Defendant’s conduct, Plaintiff has been
placed at an imminent, immediate, and continuing increased risk of harm from fraud and
identity theft.

136. As a result of the “Data Breach”, the Private Information of over 73 million
AT&T customers, including Plaintiff, is available on the Internet for users, including
criminals, to find, search through, and download.

137. As a direct and proximate result of Defendant’s conduct, Plaintiff has been

forced to expend time dealing with the effects of the “Data Breach”.

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138. Plaintiff faces substantial risk of out-of-pocket fraud losses such as loans
opened in his name, medical services billed in his name, tax return fraud, utility bills
opened in name, credit card fraud, and similar identity theft.

139. Plaintiff faces substantial risk of being targeted for future phishing, data
intrusion, and other illegal schemes based on his Private Information as potential
fraudsters could use that information to target such schemes more effectively upon
Plaintiff.

140. Plaintiff must now incur out-of-pocket costs for protective measures such as
credit monitoring fees, credit report fees, credit freeze fees, and similar costs directly or
indirectly related to the “Data Breach”.

141. Plaintiff has also suffered a loss of value of his Private Information when it
was acquired by cyber thieves in the “Data Breach”. Numerous courts have recognized the
propriety of loss of value damages in related cases.

142. Plaintiff was also damaged via benefit-of-the-bargain damages. Plaintiff
overpaid for a service that was intended to be accompanied by adequate data security, but
was not. Part of the price Plaintiff paid to AT&T was intended to be used by AT&T to fund
adequate security of Plaintiff's Private Information. Thus, Plaintiff did not get what he
paid for.

143. Plaintiff has spent and will continue to spend significant amounts of time to
monitor his financial accounts and records for misuse.

144, Indeed, AT&T has not yet provided any instructions to Plaintiff about all the
time that he will need to spend monitor their own accounts, or about how to establish a
security freeze on his credit report.

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145. Plaintiff has suffered or will suffer actual injury as a direct result of the
“Data Breach”. Many victims suffered ascertainable losses in the form of out-of-pocket
expenses and the value of their time reasonably incurred to remedy or mitigate the effects
of the Data Breach relating to: Finding fraudulent charges; Canceling and reissuing credit
and debit cards; Purchasing credit monitoring and identity theft prevention; Addressing
their inability to withdraw funds linked to compromised accounts; Trips to banks and
waiting in line to obtain funds held in limited accounts; Placing “freezes” and “alerts” with
credit reporting agencies; Time on the phone with the bank to dispute fraudulent charges;
Contacting other financial institutions and closing or modifying financial accounts;
Resetting automatic billing and payment instructions from compromised credit and debit
cards to new ones; Paying late fees and declined payment fees imposed as a result of failed
automatic payments that were tied to compromised cards that had to be cancelled, and;
Closely reviewing and monitoring Social Security Number, medical insurance accounts,
bank accounts, and credit reports for unauthorized activity for years to come.

146. Moreover, Plaintiff has an interest in ensuring that his Private Information,
which is believed to remain in the possession of Defendant, is protected from further
breaches by the implementation of security measures and safeguards, including but not
limited to, making sure that the storage of data or documents containing personal and
financial information is not accessible online, that access to such data is password-
protected, and that such data is properly encrypted.

147. Furthermore, as a result of Defendant’s conduct, Plaintiff is forced to live
with the anxiety that his Private Information —which contains the most intimate details
about a person’s life—may be disclosed to the entire world, thereby subjecting him to

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embarrassment and depriving him of any right to privacy whatsoever.
148. As a direct and proximate result of Defendant’s actions and inactions,

Plaintiff has suffered a loss of privacy and are at an imminent and increased risk of future

harm.
PRAYER FOR RELIEF
149, WHEREFORE, Plaintiff as described above, seeks the following relief:
150. Judgment in favor of Plaintiff awarding him appropriate monetary relief,

including actual damages, statutory damages, exemplary damages, equitable relief,
restitution, disgorgement, and statutory costs.

151. Judgment in favor of Plaintiff for exemplary damages as a result of
Defendant’s actions resulting in damages and harm to Plaintiff.

132. A judgment in favor of Plaintiff awarding prejudgment and post-judgment

interest and expenses as allowable by law; and

153. An award of such other and further relief as this Court may deem just and
proper.
DEMAND FOR JURY TRIAL
154. Plaintiff respectfully demands a jury trial as to all matters contained herein

and so triable.

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= AT&T EXHIBIT

Jeff Edwards
1406 Duster Cv.
Cedar Park, TX 78613-5822

__NOTICE OF DATA BREACH

April 25, 2024
‘s

Hello, ~

At AT&T, we take the security of your data very seriously. We're writing to inform you that AT&T has determined
that some of your personal information was compromised. To help protect your identity, we're offering you one
year of complimentary credit monitoring, identity theft detection and resolution services provided by Experian’s®
IdentityWorks™. While this service is free, you must follow the enclosed instructions to enroll if you
haven't already taken action based on our previous communication.

What happened? On March 26, 2024, we determined that AT&T customer information was included in a dataset
released on the dark web on March 17, 2024.

What information was involved? The information varied by individual and account, but may have included
fullname, email address, mailing address, phone number, social security number, date of birth, AT&T account
number and AT&T passcode. To the best of our knowledge, personal financial information and call history were not
included. Based on our investigation to date, the data appears to be from June 2019 or earlier.

-.What.is AT&T. doingto help?..We're.offering.you.the.complimentary.credit. monitoring, identity theft. detection

and resolution services described above. We've also launched.a robust investigation supported by internal and

external cybersecurity experts, and we are regularly reviewing and updating the measures we take to protect your
information.

What can you do?

Stay vigilant. We recommend that you review the enclosed Information About Identity Theft Protection
and encourage you to remain vigilant by monitoring your personal accounts and credit reports for any
suspicious activity.

Watch out for suspicious calls or emails. We also recommend that you remain alert for unsolicited
communications seeking your personal information. You should be cautious about entering your
username and password on links provided through emails, even if it looks like the company’s website. The
safest route is to go directly to the company’s website to log in.

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We apologize this has happened.

Please do not hesitate to call us at 866.346.0416 Monday through Friday, 8 am. to9 p.m. CST, or
visit att.com/accountsafety if you have questions regarding this matter.

Sincerely,

AT&T

Experian’s® IdentityWorks™

AT&T is providing you with an Identityworks®™ membership at no charge. After you complete registration, you'll
have increased visibility into any possible fraudulent activity. You will also have an insurance policy of up to $1
million in coverage should you experience identity theft and an Identity Restoration team to guide you through the
recovery process.

To activate your membership and start monitoring your personal information, please follow the steps below:

- Enroll by August 30, 2024 (Your code will not work after this date)
: Goto ExperianiDWorks.com/pluscreditlock and select ‘Get Started’ A
* Enter your activation code: KCZC5T3H7R

If you have questions about the product, need assistance with identity restoration, or would like an alternative to
enrolling in Experian's® IdentityWorks™ online, please contact Experian’s customer care tear at 8339314853 by
August 30, 2024. Be prepared to provide engagement number (B119859) as proof of eligibility for the identity
restoration services provided by Experian.

IdentityWorks™ Includes:

* Experian Credit Report at Signup: See what information is associated with your credit file. Daily credit
reports are available for online members only.

« — Credit Monitoring: Actively monitors Experian file for indicators of fraud.

* — Internet Surveillance: Technology searches the web, chat rooms, and bulletin boards 24/7 to identify
trading or selling of your personal information on the dark web.

* Identity Restoration: Identity Restoration specialists are immediately available to help you address credit
and non-credit related fraud.

* — Credit Lock / Unlock: This key feature provides you the ability to lock / unlock your Experian credit file.

* Experian IdentityWorks ExtendCARE™: You receive the same high-level of Identity Restoration support
even after your Experian® IdentityWorks™ membership has expired.

* Upto $1 Million Identity Theft Insurance: Provides coverage for certain costs and unauthorized
electronic fund transfers.

Please note that Identity Restoration support is available to you for one year from the date of this letter and

does not require any action on your part at this time. The Terms and Conditions for this offer are located at
Experian|DWorks.com/restoration. You will also find self-help tips and information about identity protection at this
site.

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Information About Identity Theft Protection

Monitor Your Accounts

We recommend that you regularly review statements from your accounts and periodically obtain your credit report from one or more of
the national credit reporting companies. You may obtain a free copy of your credit report online at www.annualcreditreport.com, by calling
toll-free 1-877-322-8228, or by mailing an Annual Credit Report Request Form (available at www.annualcreditreport.com) to Annual Credit
Report Request Service, PO. Box 105281, Atlanta, GA, 30348-5281. You may also purchase a copy of your credit report by contacting one or
more of the three national credit reporting agencies listed below.

Equifax® Experian® TransUnion®

PO. Box 740241 PO. Box 2002 PO, Box 1000

Atlanta, GA 30374-0241 * Allen, TX 75013-9701 Chester, PA 19016-1000
1-866-349-5191 1-866-200-6020 1-800-888-4213
wwwequifax.com www.experian.com wwwtransunion.com

You should remain vigilant for incidents of fraud or identity theft by reviewing account statements and monitoring free credit reports.
When you receive your credit reports, review them carefully. Look for accounts or creditor inquiries that you did not initiate or do not
recognize. Look for information, such as home address and Social Security number, that is not accurate. If you see anything you do not

understand, call the credit reporting agency at the telephone number on the report.

You have rights under the federal Fair Credit Reporting Act (FCRA), which governs the collection and use of information about you by
consumer reporting agencies. For more information about your rights under the FCRA, please visit

Credit Freeze

You have the right to put a security freeze, also. known as a credit freeze, on your credit file, Sathat no new credit can be opened in your
name without the use of a Personal Identification Number (PIN) that is issued to you when you ittitiate a freeze. A credit freeze is designed
to prevent potential credit grantors from accessing your credit report without your consent. If you place a credit freeze, potential creditors
and other third parties will not be able to access your credit report unless you temporarily lift the freeze. Therefore, using a credit freeze
may delay your ability to obtain credit. Pursuant to federal law, you cannot be charged to place or lift a credit freeze on your credit report.
Should you wish to place a credit freeze, please contact all three major consumer reporting agencies listed below.

Equifax® Experian® TransUnion®

PO. Box 105788 PO. Box 9554 PO. Box 160

Atlanta, GA 30348-5788 Allen, TX 75013-9554 Woodlyn, PA 19094
1-888-298-0045 1-888-397-3742 1-800-916-8800
www.equifax.com/personal/credit- www.experian.com/freeze/centerhtml wwwtransunion.com/credit-freeze

report-services

You must separately place a credit freeze on your credit file at each credit reporting agency. The following information should be included
when requesting a credit freeze:

* Full name, with middle initial and any suffixes;

* Social Security number;

* Date of birth (month, day, and year);

* Proof of current address, such as a current utility bill or telephone bill:

* Other personal information as required by the applicable credit reporting agency.

If you request a credit freeze online or by phone, then the credit reporting agencies have one business day after receiving your
request to place a credit freeze on your credit file report. If you request a lift of the credit freeze online or by phone, then the credit
reporting agency must lift the freeze within one hour. If you request a credit freeze or lift of a credit freeze by mail, then the credit
agency must place or lift the credit freeze no later than three business days after getting your request.

Fraud Alerts

You also have the right to place an initial or extended fraud alert on your file at no cost. An initial fraud alert lasts one year and is
placed on a consumer's credit file. Upon seeing a fraud alert display on a consumer's credit file, a business is required to take steps
to verify the consumer's identity before extending new credit. If you are a victim of identity theft, you are entitled to an extended
fraud alert, which is a fraud alert lasting seven years. Should you wish to place a fraud alert, please contact any one of the agencies
listed below. The agency you contact will then contact the other two credit agencies.

Equifax® Experian® TransUnion®

PO. Box 105069 PO. Box 9554 PO. Box 2000

Atlanta, GA 30348-5069 Allen, TX 75013-9554 Chester, PA 19016-2000
1-800-525-6285 1-888-397-3742 1-800-680-7289
www.edquifaxcom/personal/credit- www.experian.com/fraud/center.html wwwttransunion.com/fraud-alerts

report- services/credit-fraud-alerts/

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Federal Trade Commission and State Attorneys General Offi

if you find suspicious activity on your credit reports or have reason to believe your information is being misused, call your local law
enforcement agency or state Attorney General and file a police report; this notice was not delayed by law enforcement. Get a copy of
the report; many creditors want the information it contains to alleviate you of the fraudulent debts, You also should file a complaint with
the Federal Trade Commission (FTC) using the contact information below. Your complaint will be added to the FTC’s Consumer Sentinel
database, where it will be accessible to law enforcement for their investigations.

You may also contact the FTC at Federal Trade Commission, Consumer Response Center, 600 Pennsylvania Avenue, NW, Washington, DC
20580, wwwtc.gov/bcp/edu/microsites/idtheft/, 1-877IDTHEFT (438-4338), to learn more about identity theft and the steps you can take
to protect yourself and prevent such activity.

* Oregon residents are advised to report any suspected identity theft to law enforcement, including the FTC, and the Oregon
Attorney General.

* North Carolina residents may also contact the North Carolina Office of the Attorney General, Consumer Protection Division,
9001 Mail Service Center, Raleigh, NC 27699-9001, www.ncdoj.gov, 1-877-566-7226.

* lowa residents are advised to report any suspected identity theft to law enforcement or to the lowa Attorney General.

* Ifyou are a Maryland resident, you may contact the Maryland Office of the Attorney General at Consumer Protection Division
Office, 44 North Potornac Street, Suite 104, Hagerstown, MD 21740,
https/Avww.marylandattorneygeneral gov/Pages/contactus. aspx, 1-888-743-0023, or 410-528-8662 (consumer).

* District of Columbia residents may contact the Office of the Attorney General for the District of Columbia, Office of Consumer
Protection, 400 6th St. NW, Washington, DC. 20001, https://oag.de.gov/, (202) 442-9828 (consumer protection hotline).

* Rhode Island residents may contact the Office of the Attorney General, 150 South Main Street, Providence, RI 02930, (401) 274-4400,

For New York Residents

New York residents can also consider placing a Security Freeze on their credit reports. A Security Freeze prevents most potential creditors
from viewing your credit reports, further protecting against the opening of unauthorized ackounts, Please note that credit reporting
agencies may charge a fee to place a Security Freeze. For more information on placing a security freeze on your credit reports, please
review the New York Department of State Division of Consumer Protection website at

https://dos.ny.gov/consumer-protection.

When you receive a credit report from a credit reporting agency, review the report carefully. Look for accounts you did not open, inquiries
from creditors that you did not initiate, and confirm that your personal information, such as home address and Social Security number,
is accurate. If you see anything that you do not understand or recognize, call the credit reporting agency at the telephone number on
the report. You should also call your local police department and file a report of identity theft. Finally, you should make sure to keep a
copy of the police report in case you need to provide it to creditors or credit reporting agencies when accessing or disputing inaccurate
information.

Even if you do not find signs of fraud on your credit reports, we recommend that you remain vigilant in reviewing your credit reports from
the three major credit reporting agencies. You may obtain a free copy of your credit report once every 12 months by visiting
wwwannualcreditreport.com, calling toll-free 877-322-8228 or by completing an Annual Credit Request Form at:
wwwitc.gov/bcp/menus/consumer/credit/rights.shtm and mailing to:

Annual Credit Report Request Service
PO. Box 1025281
Atlanta, GA 30348-5283

You may report any incidents of suspected identity theft to law enforcement, including the FTC, your state Attorney General's office, or
local law enforcement. For more information on identity theft, you can visit the following websites:

* New York Department of State Division of Consumer Protection: https://dos.ny.gov/consumer-protection; 1-800-697-1220
* — NYS Attorney General at: https://ag.ny.gov/; 1-800-771-7755
* FTC at. wwwftc.gov/bcp/edu/microsites/idtheft/; https://wwwidentitytheft.gov/#/

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Case 3:24-cv-00757-E

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Case 3:24-cv-00757-E Document 224 _ Filed 10/24/24 Page37of51 PagelD 1654
10/19/24, 8:35 AM Gmail - Your Personal Data Breach Report

EXHIBIT

EB

Gmail Jeff Edwards <jeffed

Your Personal Data Breach Report
1 message

F-Secure <no-reply @f-secure.com> Fri, Oct 18, 2024 at 3:58 PM
To: jeffedwards777@gmail.com

(fa F-Secure.

Your data has been exposed

You have requested F-Secure's free report to see if your email
address has been part of a data breach. Here's what we
discovered:

13 breach(es) that contain your personal information:

Breached Service Exposed data
2021 AT&T Subscriber Data Street address , City , Date of birth , Email address , Full
03/2024 name , Phone number , Postal code , Social security

number , State

zeerog.com Email address , Password

02/2024

USA Valid Emails City , Country , Email address , First name , Full name ,
08/2023 Last name , Postal code , State

Online Digital Country , Email address , First name , Full name , Last
06/2023 name

https://mail.google.com/mail/u/0/?ik=7 3fbaff3b7 &view=pt&search=all&permthid=thread-f:181328687429111 4384 &simpl=msg-f:1813286874291114384 1/4

Case 3:24-cv-00757-E Document 224 Filed 10/24/24 Page38o0f51 PagelD 1655

Case 3:24-md-03114-E Document 21 Filed 10/04/24 Page1of4 PagelD 103

EXHIBIT
UNITED STATES JUDICIAL PANEL C
on
MULTIDISTRICT LITIGATION
CERTIFIED: TRUE COPY
KARE ITCHELL; eCLERK
IN RE: AT&T INC. CUSTOMER DATA a
SECURITY BREACH LITIGATION [> =} oe | MDL No. 3114
«| DEPUTY. CLERK |
U.S. DISTRICT: COURT, NORTHERN
DIS a EXAS /
TRANSFER ORDER Fes

Before the Panel:* Plaintiffs in the actions listed on Schedule A and Schedule B move
under Panel Rule 7.1 to vacate the orders conditionally transferring the actions to MDL No. 3114.!
Defendants AT&T Inc. and AT&T Mobility LLC oppose the motions and support transfer.

After considering the argument of counsel, we find that the actions involve common
questions of fact with the actions transferred to MDL No. 3114, and that transfer under 28 U.S.C.
§ 1407 will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of the litigation. In our order establishing this MDL, we held that centralization was
warranted for actions concerning “an alleged data security breach announced by AT&T in March
2024 concerning the personal information of over 70 million former and current AT&T customers
released on the dark web.”? See In re AT&T Inc. Customer Data Sec. Breach Litig., _ F. Supp.
3d, 2024 WL 2884429 (J.P.M.L. June 5, 2024). The actions concern the AT&T data breach
announced in March 2024 and share common factual questions with the actions in the MDL.

In opposition to transfer, the pro se plaintiffs in Phillips argue that (1) there are
“also questions of fact that are uncommon” to the MDL, and (2) transfer to a distant forum will be

* Judge Karen K. Caldwell and Judge David C. Norton did not participate in the decision of this
matter.

' The Schedule A actions assert claims concerning the data breach at issue in MDL No. 3114 and
were the subject of conditional transfer orders providing for transfer of the actions in their entirety.
See CTO-2, CTO-3, and CTO-6. The Schedule B actions assert claims concerning both the data
breach and an allegedly unlawful monthly administrative fee unrelated to the data breach claims.
For the Schedule B actions, the CTO provided for transfer of the actions with simultaneous
separation and remand of the claims challenging the administrative fee to the transferor court. See
CTO-7. All parties to the Schedule B actions agree that exclusion of the administrative fee claims
from the MDL is appropriate and do not challenge that part of the CTO.

* The personal information allegedly compromised by the breach was from a 2019 data set and
included customer names, addresses, phone numbers, social security numbers, dates of birth,
AT&T account numbers, and passcodes. See In re AT&T Inc. Customer Data Sec. Breach Litig.,
2024 WL 2884429, at *1 n.2.
Case 3:24-cv-00757-E Document 224 Filed 10/24/24 Page39o0f51 PagelD 1656

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-2-

inconvenient for their action. These objections are unpersuasive. First, plaintiffs do not indicate
what the purported “uncommon” questions are. Assuming that their case does raise some case-
specific factual questions (e.g., their individual relationship with AT&T), transfer remains
warranted. Section 1407 does not require a complete identity of common factual issues or parties
when the actions arise from a common factual core. See In re Valsartan Prods. Liab. Litig., 433
F. Supp. 3d 1349, 1352 (J.P.M.L. 2019). Additionally, the alleged inconvenience of transfer does
not weigh against transfer. The Panel looks to “the overall convenience of the parties and witnesses
in the litigation as a whole, not just those of a single plaintiff or defendant in isolation.” See In re
Watson Fentanyl Patch Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1351-52 (J.P.M.L. 2012).
Moreover, because transfer is for pretrial proceedings only, there likely will be no need for
plaintiffs to travel to the transferee forum.

Plaintiffs in the remaining seven actions principally argue that their actions were
improperly removed and that the interest of efficiency is best served by allowing the transferor
courts to decide the issues presented in their pending or anticipated motions for remand to state
court. The Panel consistently has held, however, that jurisdictional objections do not present an
impediment to transfer. See, e.g., In re Prudential Ins. Co. of Am. Sales Practices Litig., 170 F.
Supp. 2d 1346, 1347 (J.P.M.L. 2001) (explaining that “remand motions can be presented to and
decided by the transferee judge” and transferor courts wishing to rule on such motions generally
“have adequate time to do so”).

Plaintiffs in five actions (Caruso, Surowiec, Young, Varela, and Quick) also seek an order
from the Panel remanding their actions to state court. The Panel does not have the authority to
order remand of actions to state court. See In re Ford Motor Co. DPS6 Powershift Transmission
Prods. Liab. Litig., 289 F. Supp. 3d 1350, 1352 (J.P.M.L. 2018) (“Section 1407 does not empower
the MDL Panel to decide questions going to the jurisdiction or the merits of a case, including issues
relating to a motion to remand.”).

IT IS THEREFORE ORDERED that the actions listed on Schedule A and Schedule B are
transferred to the Northern District of Texas and, with the consent of that court, assigned to the

Honorable Ada E. Brown for coordinated or consolidated pretrial proceedings.

IT IS FURTHER ORDERED that the administrative fee claims in the actions listed on
Schedule B are simultaneously separated and remanded to the Southern District of Florida.

PANEL ON MULTIDISTRICT LITIGATION

Vobhe.h Leiter

Nathaniel M. Gorton

Acting Chair
Matthew F. Kennelly Roger T. Benitez
Dale A. Kimball Madeline Cox Arleo
Case 3:24-md-03114-E Document 21 Filed 10/04/24 Page 3 of 4 PagelD 105

IN RE: AT&T INC. CUSTOMER DATA
SECURITY BREACH LITIGATION MDL No. 3114

SCHEDULE A

Middle District of Florida

RASLAVICH v. AT&T INC., C.A. No. 8:24-01422

Southern District of Florida

CARUSO v. AT&T MOBILITY LLC, C.A. No. 1:24-22597
PHILLIPS, ET AL. v. AT&T MOBILITY LLC, ET AL., C.A. No. 9:24-80700

Western District of Texas

|
Case 3:24-cv-00757-E Document 224 Filed 10/24/24 Page40of51 PagelD 1657
EDWARDS v. AT&T INC., C.A. No. 1:24-00753
Case 3:24-cv-00757-E Document 224 Filed 10/24/24 Page41of51 PagelD 1658
Case 3:24-md-03114-E Document 21 Filed 10/04/24 Page 4 of 4 PagelD 106

IN RE: AT&T INC. CUSTOMER DATA
SECURITY BREACH LITIGATION MDL No. 3114

SCHEDULE B

Southern District of Florida

SUROWIEC v. AT&T MOBILITY LLC, C.A. No. 1:24-22619
YOUNG v. AT&T MOBILITY LLC, C.A. No. 1:24-22625
VARELA v. AT&T MOBILITY LLC, C.A. No. 1:24-22666
QUICK v. AT&T MOBILITY LLC, C.A. No. 1:24-22682

Securing today
and tomorrow

EXHIBIT
D

Identity Theft
and Your Social
Security Number

Case 3:24-cv-00 7/5 7+EemDocument224wchiledehO/24/24cee-Page-43,o0151 PagelD 1660

Identity theft is one of the fastest
growing crimes in America. A dishonest
person who has your Social Security
number can use it to get other personal
information about you. Identity thieves
can use your number and your good
credit to apply for more credit in

your name. Then, when they use the
credit cards and don’t pay the bills, it
damages your credit. You may not find
out that someone is using your number
until you’re turned down for credit, or
you begin to get calls from unknown
creditors demanding payment for items
you never bought.

Someone illegally using your Social
Security number and assuming your
identity can cause a lot of problems.

Your number is confidential

The Social Security Administration
protects your Social Security number
and keeps your records confidential.
We don’t give your number to anyone,
except when authorized by law. You
should be careful about sharing your
number, even when you're asked for
it. You should ask why your number is
needed, how itll be used, and what will
happen if you refuse. The answers to
these questions can help you decide
if you want to give out your Social
Security number.
Case 3:24-Cv-00757+Es Document224emFilede40/24/24-mPaged4.of54 PagelD 1661

How might someone steal
your number?

Identity thieves get your personal
information by:

¢ Stealing wallets, purses, and your
mail (bank and credit card statements,
pre-approved credit offers, new
checks, and tax information).

* Stealing personal information you
provide to an unsecured site online,
from business or personnel records
at work, and personal information in
your home.

¢ Rummaging through your trash, the
trash of businesses, and public trash
dumps for personal data.

¢ Buying personal information from
“inside” sources. For example,
an identity thief may pay a store
employee for information about you
that appears on an application for
goods, services, or credit.

¢ Posing by phone or email as
someone who legitimately needs
information about you, such as
employers, landlords, or government
agencies.

Be careful with your Social
Security card and number

When you start a job, make sure your
employer has your correct Social
Security number so your records are
correct. Provide your Social Security
number to your financial institution(s) for

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ee a

Case 3:24-cv-00757+E Document: 224 Filed:b0/24/24--Page45.0f 64

tax reporting purposes. Keep your card
and any other document that shows
your Social Security number in a safe
place. DO NOT routinely carry your
card or other documents that display
your number.

What if you think someone is
using your number?

Sometimes more than one person
uses the same Social Security number,
either on purpose or by accident. If you
suspect someone is using your number
for work purposes, you should contact
us to report the problem. We'll review
your earnings with you to ensure our
records are correct.

You also may review earnings

posted to your record on your Social
Security Statement. The Statement is
available online to workers age 18 and
older. To get your Statement, go to
www.ssa.gov/myaccount and create
an account.

What if an identity thief is
creating credit problems for you?

lf someone has misused your Social
Security number or other personal
information to create credit or other
problems for you, Social Security can’t
resolve these problems. But there are
several things you should do.

PagelD 1662
Case 3:24-cv-00757-Ew« Document 224e°Filed:40/24/240--Page-46.0f-51

Visit IdentityTheft.gov to report

identity theft and get a recovery plan.
IdentityTheft.gov guides you through
each step of the recovery process.

It's a One-stop resource managed by
the Federal Trade Commission, the
nation’s consumer protection agency.
You can also call 1-877-IDTHEFT
(1-877-438-4338): TTY 1-866-653-4261.

You may want to contact the Internal
Revenue Service (IRS). An identity thief
also might use your Social Security
number to file a tax return to receive
your refund. If you’re eligible for a
refund, a thief could file a tax return
before you do and get your refund.
Then, when you do file, the IRS will
think you already received your refund.
If your Social Security number is stolen,
another person may use it to get a job.
That person’s employer would report
earned income to the IRS using your
Social Security number. This will make
it appear that you didn’t report all of
your income on your tax return. If you
think you may have tax issues because
someone has stolen your identity, go to
www.irs.gov/uac/Identity-Protection
or Call 1-800-908-4490.

Also, you should file an online complaint
with the Internet Crime Complaint
Center (IC3) at www.ic3.gov.

The IC3 gives victims of cybercrime a
convenient and easy-to-use reporting
mechanism that alerts authorities of
suspected criminal or civil violations.

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PagelD 1663

Case 3:24-cv-00757-E==-Document224errhilede.0/24/24e--Page- 47.051

IC3 sends every complaint to one or
more law enforcement or regulatory
agencies with jurisdiction.

IC3’s mission is to receive, develop, and
refer criminal complaints regarding the
rapidly expanding arena of cybercrime.
The IC3 serves the broader law
enforcement community that combats
internet crime. This includes federal,
State, local, and international agencies.

The IC3 reflects a partnership between

the Federal Bureau of Investigation, the

National White Collar Crime Center, and
the Bureau of Justice Assistance.

You should also monitor your
credit report periodically. You can
get free credit reports online at
www.annualcreditreport.com.

Should you get a new Social
Security number?

If you’ve done all you can to fix the
problems resulting from misuse of your
Social Security number, and someone is
still using your number, we may assign
you a new number.

You can’t get a new Social
Security number:

* If your Social Security card is lost or
stolen, but there’s no evidence that
someone is using your number.

* To avoid the consequences of filing
for bankruptcy.

PagelD 1664

Case 3:24-cv-00757-E==Document:224-nekiled:hO/24/24:cRage48,0h54  PagelD 1665

¢ If you intend to avoid the law or any
legal responsibility.

If you decide to apply for a new number,

you'll need to prove your identity, age,

and U.S. citizenship or immigration

status. For more information, ask

for Your Social Security Number and

Card (Publication Number 05-10002).

You'll also need to provide evidence
that you’re having ongoing problems
because of the misuse.

Keep in mind that a new number
probably won’t solve all your problems.
This is because other governmental
agencies (such as the IRS and state
motor vehicle agencies) and private
businesses (such as banks and credit
reporting companies) will have records
under your old number. Along with other
personal information, credit reporting
companies use the number to identify
your credit record. So using a new
number won't guarantee you a fresh
start. This is especially true if your other
personal information, such as your
name and address, remains the same.

If you receive a new Social Security
number, you shouldn’t use the old
number anymore.

For some victims of identity theft, a new
number actually creates new problems.
If the old credit information isn’t
associated with your new number, the
absence of any credit history under your
new number may make it more difficult
for you to get credit.

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Contacting Social Security

The most convenient way to do
business with us from anywhere, on any
device, is to visit www.ssa.gov. There
are several things you can do online:
apply for benefits; get useful information;
find publications; and get answers to
frequently asked questions.

Or, you can call us toll-free at
1-800-772-1213 or at 1-800-325-0778
(TTY) if you're deaf or hard of hearing.
We can answer your call from 7 a.m. to
7 p.m., weekdays. You can also use
our automated services via telephone,
24 hours a day. We look forward to
serving you.

Social Security Administration
Publication No. 05-10064
July 2021 (June 2018 edition may be used)
Identity Theft and Your Social Security Number
Produced and published at U.S. taxpayer expense
Case 3:24-cv-00757-E Document 224 _ Filed 10/24/24 Page50o0f51 PagelD 1667

Jeff M Edwards

1406 Duster Cv
Cedar Park, TX 78613

October 21, 2024 |
act 24 2024
USPS Priority Mail ~ Delivery Confirmation Tracking tt
CLERK U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

District Clerk

United States District Court
Northern District of Texas
1100 Commerce St

Room 1542

Dallas, TX 75242

Re: Edwards vs AT&T Inc — Case No. 3:24-cv-02543-E — MDL 3:24-md-03114

To The District Clerk,

Please see attached “Plaintiffs Amended Complaint” for which | am requesting to be filed in my behalf for the
above-named case.

Pursuant to Rule 4 of the Federal Rules of Civil Procedure, | will be sending, concurrent with this filing, a Waiver
of the Service of Summons to Defendant's counsel of record.

If you have any questions or further instructions, please contact me directly via email or by phone.

Regards,

Dae

Jeff M Edwards

Pro Se

Email: Jeffedwards777@aqmail.com

Phone: (512) 300-7555
Page 510f51 PagelD 1668

Filed 10/24/24

Document 224

Case 3:24-cv-00757-E

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From: Jeff M Edwards
1406 Duster Cv
Cedar Park, TX 78613

To: District Clerk
United States District Court
Northern District of Texas
1100 Commerce St
Room 1452
Dallas, TX 75242

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